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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

MYRON RAGSDALE,

            Plaintiff,                        Case No.: 2:18-cv-12581
                                              Honorable Victoria A. Roberts
v.

CREDIT ACCEPTANCE CORPORATION
a Michigan Corporation,

            Defendant.


     STIPULATED ORDER OF DISMISSAL WITHOUT PREJUDICE

      The parties, Plaintiff Myron Ragsdale and Defendant Credit Acceptance

Corporation, having stipulated to the entry of this Order, and the Court being

otherwise advised in the premises, it is ORDERED that the case is DISMISSED

without prejudice to Plaintiff proceeding to arbitration. Credit Acceptance’s Motion

to Dismiss (Doc #003) is WITHDRAWN as moot.


                                        s/ Victoria A. Roberts
                                        Victoria A. Roberts
Date: October 4, 2018                   United States District Judge

Stipulated to and approved for entry:

s/Charlotte Croson with consent               s/Susan D. Koval
Charlotte Croson (P56589)                     Susan D. Koval (P59297)
Attorney for Plaintiff                        Attorney for Defendant
